                         Case 19-12730-CSS            Doc 2      Filed 12/20/19       Page 1 of 13




                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                   )
             In re:                                                )   Chapter 7
                                                                   )
             ARROW HOLDINGS, LLC,1                                 )   Case No. 19-12730 (___)
                                                                   )
                         Debtor.                                   )
                                                                   )
                                                                   )
                                                                   )
             In re:                                                )   Chapter 7
                                                                   )
             EMS MANAGEMENT, LLC,                                  )   Case No. 19-12732 (___)
                                                                   )
                         Debtor.                                   )
                                                                   )
                                                                   )
             In re:                                                )   Chapter 7
                                                                   )
             EMS PLANE, INC.,                                      )   Case No. 19-12733 (___)
                                                                   )
                         Debtor.                                   )
                                                                   )
                                                                   )
                                                                   )
             In re:                                                )   Chapter 7
                                                                   )
             MODERN MATERIAL SERVICES, LLC,                        )   Case No. 19-12731 (___)
                                                                   )
                         Debtor.                                   )
                                                                   )

                      THE CHAPTER 7 CASES SCHEDULES AND SOFAS GLOBAL NOTES

                   These Global Notes regarding the above-captioned debtors and debtors in
     possession (collectively, the “Debtors”) Schedules of Assets and Liabilities (the “Schedules”) and
     Statements of Financial Affairs (the “SOFAs”) comprise an integral part of the Schedules and
     SOFAs and should be referred to and considered in connection with any review of them



     1
       The Debtors in the above captioned chapter 7 Cases, along with the last four digits of each Debtor’s federal tax
     identification number, are as follows: Arrow Holdings, LLC (4631); EMS Management, LLC (2709); Modern Material
     Services, LLC (8472); and EMS Plane, Inc. (N/A). The Debtors’ address is 2605 Nicholson Road, Suite 5200, Sewickley, PA
     15143.
25630883.4
                          Case 19-12730-CSS         Doc 2     Filed 12/20/19     Page 2 of 13




     1.      The Debtors prepared these unaudited Schedules of Assets and Liabilities (the “Schedules”) and
             Statements of Financial Affairs (the “SOFAs”) pursuant to section 521 of title 11 of the United
             States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy
             Procedure. Except where otherwise noted the information provided herein is presented as of the
             beginning of business on December 19, 2019.

     2.      While the Debtors have made every reasonable effort to ensure that the Schedules and SOFAs are
             accurate and complete, based upon information that was available to them at the time of
             preparation, inadvertent errors or omissions may exist and the subsequent receipt of information
             and/or further review and analysis of the Debtors’ books and records may result in changes to
             financial data and other information contained in the Schedules and SOFAs. Moreover, because
             the Schedules and SOFAs contain unaudited information, which is subject to further review and
             potential adjustment, there can be no assurance that the Schedules and SOFAs are complete or
             accurate.

     3.      In reviewing and signing the Schedules and SOFAs, Dennis DeBassio, the duly authorized and
             designated representative of the Debtors (the “Designated Representative”), has necessarily relied
             upon the prior efforts, statements and representations of other employees, personnel and
             professionals of the Debtors. The Designated Representative has not (and could not have)
             personally verified the accuracy of each such statement and representation that collectively provide
             the information presented in the Schedules and SOFAs, including but not limited to, statements and
             representations concerning amounts owed to creditors and their addresses.

     4.      The Debtors reserve their rights to amend the Schedules and SOFAs as may be necessary or
             appropriate in the Debtors’ sole and absolute discretion, including, but not limited to, the right to
             assert offsets or defenses to (which rights are expressly preserved), or to dispute, any claim
             reflected on the Schedules as to amount, liability or classification, or to otherwise subsequently
             designate any claim as “disputed,” “contingent” or “unliquidated.” These Global Notes will apply
             to all such amendments. Furthermore, nothing contained in the Schedules or SOFAs shall
             constitute a waiver of the Debtors’ rights with respect to the chapter 7 cases and specifically with
             respect to any issues involving substantive consolidation, equitable subordination and/or causes of
             action arising under the provisions of chapter 5 of the Bankruptcy Code and other relevant non-
             bankruptcy laws to recover assets or avoid transfers, or an admission relating to the same.

     5.      Any failure to designate a claim listed on the Debtors’ Schedules as “disputed,” “contingent” or
             “unliquidated” does not constitute an admission by the Debtors that such amount is not “disputed,”
             “contingent” or “unliquidated.” Additionally, the dollar amounts of claims listed may be exclusive
             of contingent and additional unliquidated amounts. Further, the claims of individual creditors are
             listed as the amounts entered on the Debtors’ books and records and may not reflect credits or
             allowances due from such creditors to the Debtors or setoffs applied by such creditors against
             amounts due by such creditors to the Debtors with respect to other transactions between them. The
             Debtors reserve all of their rights with respect to any such credits and allowances.

     6.      Some of the Debtors’ scheduled assets and liabilities are unknown and/or unliquidated. In such
             cases, no amounts are listed or the amounts are listed as “undetermined,” “unknown,” “none
             calculated” or to similar effect. Accordingly, for this and other reasons the Schedules may not fully
             reflect the aggregate amount of the Debtors’ assets and liabilities.
25630883.4
                          Case 19-12730-CSS           Doc 2     Filed 12/20/19      Page 3 of 13




     7.      At times, the preparation of the Schedules and the SOFAs required the Debtors to make
             assumptions that may affect the reported amounts of assets and liabilities, the disclosures of
             contingent assets and liabilities, and/or other items. Actual results could differ from those estimates.
             Pursuant to Fed. R. Bankr. P. 1009, the Debtors may amend their Schedules and SOFAs as they
             deem necessary and appropriate to reflect material changes. In addition, the Debtors, for the
             benefit of their estates, reserve the right to dispute or to assert offsets or defenses to any claim listed
             on the Schedules or SOFAs.

     8.      Given the differences between the information requested in the Schedules and the financial
             information utilized under generally accepted accounting principles in the United States (“GAAP”),
             the aggregate asset values and claim amounts set forth in the Schedules may not necessarily reflect
             the amounts that would be set forth in a balance sheet prepared in accordance with GAAP.

     9.      The Debtors completed multiple sales of their businesses and assets prior to the chapter 7 filing.
             Certain of these asset purchase agreements contained provisions whereby amounts were paid by the
             purchaser to Citizens Bank. Such transactions are not reported on the Schedules and SOFAs.

     10. With respect to Schedule A/B, questions 6-7, the retainer amounts paid by the Debtors to their
         bankruptcy counsel, Young Conway Stargatt & Taylor, LLP, on an earned upon receipt basis do
         not constitute an interest of the Debtors in property and are thus not listed in response to Schedule
         B, questions 6-7. These payments are listed in response to SOFA question 11.

     11. With respect to Schedule A/B, question 72, the Debtors are not currently owed any tax refunds.
         The Debtors are uncertain whether they retain any net operating losses for preceding tax years.

     12. With respect to Schedule E/F, part 2, all creditors and amounts listed are derived from the Debtors’
         accounts payable as of December 19, 2019. The Debtors are unable to state with certainty the dates
         that such debts were incurred, and accordingly, the Debtors have not listed the dates that such debts
         were incurred.

     13. With respect to Schedule E/F, part 2, the addresses for certain creditors were not available in the
         Debtors’ books and records. Such addresses have been omitted.

     14. For purposes of Schedule H, the Debtors have not listed their past insurers or current insurers as co-
         debtors because the Debtors are unaware of any actual present liability on the part of these parties.
         The Debtors reserve their rights to assert that any of the various foregoing parties (or any other
         party not listed on Schedule H whom the Debtors later discover to be liable in whole or part for any
         obligation of the Debtors) is a co-debtor with the Debtors, and neither these Global Notes nor the
         Schedules and SOFAs shall be deemed a waiver of any rights of the Debtors to assert that any
         entity not listed in response to Schedule H is a co-debtor with respect to one or more of the
         Debtors’ obligations.

     15. With respect to SOFA question 14, the Debtors are uncertain as to certain of the dates of
         occupancy, and such dates have been omitted.

     16. With respect to SOFA questions 26(b) through 26(d), the Debtors have excluded rank and file
         accountants and bookkeepers in response to this question, instead listing those officers who
         supervised them, as well as the Debtors’ external accounting and audit firms.
25630883.4
                       Case 19-12730-CSS         Doc 2    Filed 12/20/19     Page 4 of 13




     17. The Debtors and their past or present officers, employees, attorneys, professionals and agents
         (including, but not limited to, the Designated Representative), do not guarantee or warrant the
         accuracy, completeness, or currentness of the data that is provided herein and shall not be liable for
         any loss or injury arising out of or caused in whole or in part by the acts, errors or omissions,
         whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
         communicating or delivering the information contained herein. The Debtors and their past or
         present officers, employees, attorneys, professionals and agents (including, but not limited to, the
         Designated Representative) expressly do not undertake any obligation to update, modify, revise or
         re-categorize the information provided herein or to notify any third party should the information be
         updated, modified, revised or re-categorized. In no event shall the Debtors or their past or present
         officers, employees, attorneys, professionals and/or agents (including, but not limited to, the
         Designated Representative) be liable to any third party for any direct, indirect, incidental,
         consequential or special damages (including, but not limited to, damages arising from the
         disallowance of any potential claim against the Debtors or damages to business reputation, lost
         business or lost profits), whether foreseeable or not and however caused arising from or related to
         any information provided herein or omitted herein.




25630883.4
                                           Case 19-12730-CSS                                     Doc 2              Filed 12/20/19                        Page 5 of 13

 Fill in this information to identify the case:

 Debtor name            Arrow Holdings, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF DELAWARE

 Case number (if known)                19-12730
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        4,456,854.13


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$                    0.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           4,456,854.13




 Official Form 206Sum                                                Summary of Assets and Liabilities for Non-Individuals                                                                               page 1
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                                     Case 19-12730-CSS                    Doc 2     Filed 12/20/19            Page 6 of 13

 Fill in this information to identify the case:

 Debtor name           Arrow Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                         Check if this is an
                                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
           Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                     Current value of
                                                                                                                                         debtor's interest
 2.          Cash on hand                                                                                                                                      $0.00



 3.          Checking, savings, money market, or financial brokerage accounts (Identify all)
             Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                              number


             3.1.     Citizens Bank                                         Savings                           7697                                             $0.00



 4.          Other cash equivalents (Identify all)

 5.          Total of Part 1.
                                                                                                                                                        $0.00
             Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:            Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
           Yes Fill in the information below.


 Part 3:            Accounts receivable
10. Does the debtor have any accounts receivable?

           No. Go to Part 4.
           Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                 page 1
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                                     Case 19-12730-CSS                    Doc 2     Filed 12/20/19       Page 7 of 13

 Debtor          Arrow Holdings, LLC                                                         Case number (If known)
                 Name

 Part 4:         Investments
13. Does the debtor own any investments?

           No. Go to Part 5.
           Yes Fill in the information below.


 Part 5:         Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

           No. Go to Part 6.
           Yes Fill in the information below.


 Part 6:         Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

           No. Go to Part 7.
           Yes Fill in the information below.


 Part 7:         Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

           No. Go to Part 8.
           Yes Fill in the information below.


 Part 8:         Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

           No. Go to Part 9.
           Yes Fill in the information below.


 Part 9:         Real property
54. Does the debtor own or lease any real property?

           No. Go to Part 10.
           Yes Fill in the information below.


 Part 10:        Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

           No. Go to Part 11.
           Yes Fill in the information below.


 Part 11:        All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

           No. Go to Part 12.
           Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                    page 2
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                                       Case 19-12730-CSS                             Doc 2            Filed 12/20/19                 Page 8 of 13

 Debtor          Arrow Holdings, LLC                                                                                 Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                    $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                         $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                             $0.00

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                       $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                  $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                              $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                     $0.00        + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                         $0.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 3
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                                       Case 19-12730-CSS                      Doc 2         Filed 12/20/19            Page 9 of 13

 Fill in this information to identify the case:

 Debtor name          Arrow Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                  Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
 2.1    Citizens Bank                                Describe debtor's property that is subject to a lien                  $4,456,854.13                       $0.00
        Creditor's Name                              All Assets

        524 William Penn Place
        Pittsburgh, PA 15219
        Creditor's mailing address                   Describe the lien
                                                     First priority perfected lien
                                                     Is the creditor an insider or related party?
                                                           No
        Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                             No
                                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
             No                                            Contingent
             Yes. Specify each creditor,                   Unliquidated
        including this creditor and its relative           Disputed
        priority.




 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.             $4,456,854.13

 Part 2: List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 1
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                                   Case 19-12730-CSS                       Doc 2         Filed 12/20/19                 Page 10 of 13

 Fill in this information to identify the case:

 Debtor name         Arrow Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

              No. Go to Part 2.

              Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.
                                                                                  Contingent
                                                                                  Unliquidated
           Date or dates debt was incurred
                                                                                  Disputed
           Last 4 digits of account number
                                                                             Basis for the claim:

                                                                             Is the claim subject to offset?       No          Yes


 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                              0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                              0.00

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                              5c.       $                                 0.00




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 1
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                                   Case 19-12730-CSS                 Doc 2      Filed 12/20/19            Page 11 of 13

 Fill in this information to identify the case:

 Debtor name         Arrow Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
           No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
           Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract



Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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                                   Case 19-12730-CSS                 Doc 2     Filed 12/20/19          Page 12 of 13

 Fill in this information to identify the case:

 Debtor name         Arrow Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

      No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
      Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      EMS                               2605 Nicholson Road                               Citizens Bank                        D
             Management,                       Suite 5200                                                                             E/F
             LLC                               Sewickley, PA 15143                                                                    G




    2.2      EMS Plane, Inc.                   2605 Nicholson Road                               Citizens Bank                        D
                                               Suite 5200                                                                             E/F
                                               Sewickley, PA 15143                                                                    G




    2.3      Modern Material                   2605 Nicholson Road                               Citizens Bank                        D
             Services, LLC                     Suite 5200                                                                             E/F
                                               Sewickley, PA 15143                                                                    G




Official Form 206H                                                         Schedule H: Your Codebtors                                           Page 1 of 1
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                                   Case 19-12730-CSS                         Doc 2        Filed 12/20/19            Page 13 of 13




 Fill in this information to identify the case:

 Debtor name         Arrow Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          12/20/19                                X /s/ Dennis DeBassio
                                                                       Signature of individual signing on behalf of debtor

                                                                       Dennis De Bassio
                                                                       Printed name

                                                                       Treasurer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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